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                                     EXHIBIT B

                                       Redline




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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                     )
    In re:                                                           )   Chapter 11
                                                                     )
    YELLOW CORPORATION, et al.,1                                     )   Case No. 23-11069 (CTG)
                                                                     )
                             Debtors.                                )   (Jointly Administered)
                                                                     )
                                                                     )   Re: Docket NoNos. 20, 173, 309

                        SECONDTHIRD INTERIM ORDER
                     (I) AUTHORIZING THE DEBTORS TO
               (A) PAY PREPETITION WAGES, SALARIES, OTHER
       COMPENSATION, AND REIMBURSABLE EXPENSES AND (B) CONTINUE
      EMPLOYEE BENEFITS PROGRAMS, AND (II) GRANTING RELATED RELIEF

             Upon the motion (the “Motion”)2 of the above-captioned debtors and debtors in

possession (collectively, the “Debtors”) for entry of an interim order (this “Interim Order”),

(a) authorizing the Debtors to (i) pay all prepetition wages, salaries, other compensation, and

Reimbursable Expenses on account of the Compensation and Benefits Programs and

(ii) continue to administer the Compensation and Benefits Programs in the ordinary course,

including payment of prepetition obligations related thereto in an aggregate amount not to

exceed approximately $24,510,000 on an interim basis; (b) scheduling a final hearing to consider

approval of the Motion on a final basis; and (c) granting related relief, all as more fully set forth

in the Motion; and upon the First Day Declaration; and the district court having jurisdiction

under 28 U.S.C. § 1334, which was referred to this Court under 28 U.S.C. § 157 pursuant to the

Amended Standing Order of Reference from the United States District Court for the District of


1
      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      proposed claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of Debtors’
      principal place of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street,
      Suite 400, Overland Park, Kansas 66211.
2
      Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.
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Delaware, dated February 29, 2012; and this Court having found that this is a core proceeding

pursuant to 28 U.S.C. § 157(b)(2); and this Court having found that venue of this proceeding and

the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court

having found that the relief requested in the Motion is in the best interests of the Debtors’

estates, their creditors, and other parties in interest; and this Court having found that the Debtors’

notice of the Motion and opportunity for a hearing on the Motion were appropriate under the

circumstances and no other notice need be provided; and this Court having reviewed the Motion

and having heard the statements in support of the relief requested therein at a hearing before this

Court (the “Hearing”); and this Court having determined that the legal and factual bases set forth

in the Motion and at the Hearing establish just cause for the relief granted herein; and upon all of

the proceedings had before this Court; and after due deliberation and sufficient cause appearing

therefor, it is HEREBY ORDERED THAT:

       1.      The Motion is granted on an interim basis as set forth herein.

       2.      The final hearing (the “Final Hearing”) on the Motion shall be held on September

185, 2023, at 211:030 pa.m., prevailing Eastern Time. Any objections or responses to entry of a

final order on the Motion shall be filed on or before 4:00 p.m., prevailing Eastern Time, on

August 31, 2023 and shall be served on: (a) the Debtors, Yellow Corporation, 11500 Outlook

Street, Suite 400, Overland Park, Kansas 66211, Attn.: General Counsel; (b) proposed counsel to

the Debtors (i) Kirkland & Ellis LLP, 300 North LaSalle, Chicago, Illinois, 60654, Attn.: Patrick

J.    Nash      Jr.,     P.C.     (patrick.nash@kirkland.com),        David       Seligman      P.C.

(david.seligman@kirkland.com), and Whitney Fogelberg (whitney.fogelberg@kirkland.com);

(ii) Kirkland & Ellis LLP, 601 Lexington Avenue, New York, New York 10022, Attn.: Allyson

B. Smith (allyson.smith@kirkland.com); and (iii) Pachulski Stang Ziehl & Jones LLP, 919 North



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Market Street, 17th Floor, PO Box 8705, Wilmington, Delaware 19801, Attn: Laura Davis Jones

(ljones@pszjlaw.com),     Timothy    P.   Cairns      (tcairns@pszjlaw.com),    Peter   J.   Keane

(pkeane@pszjlaw.com), and Edward Corma (ecorma@pszjlaw.com); (c) the Office of the

United States Trustee for the District of Delaware, 844 King Street, Suite 2207, Lockbox 35,

Wilmington, Delaware 19801, Attn.: Jane Leamy (jane.m.leamy@usdoj.gov); and (d) any

statutory   committee   appointed    in   these    chapter 11 cases.   and   Richard    Shepacarter

(richard.shepacarter); and (d) proposed counsel to the Committee (i) Akin Gump Strauss Hauer

& Feld LLP, One Bryant Park, Bank of America Tower, New York, NY 10036-6745 US, Attn:

Philip C. Dublin (pdublin@akingump.com), Meredith A. Lahaie (mlahaie@akingump.com), and

Kevin Zuzolo (kzuzolo@akingump.com) and (ii) proposed co-counsel to the Committee,

Benesch Friedlander Coplan & Aronoff LLP, 1313 North Market Street, Suite 1201,

Wilmington, DE, 19801, Attn: Jennifer R. Hoover (jhoover@beneschlaw.com) and Kevin M.

Capuzzi (kcapuzzi@beneschlaw.com).

       3.      The Debtors are authorized, but not directed, to continue, modify, change, and

discontinue the Compensation and Benefits Programs in the ordinary course during these

chapter 11 cases and without the need for further Court approval, subject to applicable law,

provided that the Debtors shall seek Court approval, upon a motion and notice, of any

modification that would implicate any portion of section 503(c) of the Bankruptcy Code,

provided, further, that except as expressly provided for otherwise herein, nothing in this Interim

Order shall, without prior court approval, authorize the Debtors to (a) pay any amounts to

insiders on account of any bonus, retention, severance, or incentive programs, or (b) pay any

amounts on account of the Compensation and Benefits Programs outside the ordinary course.




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       4.      The Debtors are authorized, but not directed, to pay and honor prepetition

amounts outstanding under or related to the Compensation and Benefits Programs in the ordinary

course not to exceed the amounts for the programs set forth in the table following this paragraph,

pursuant to this Interim Order; provided that, pending entry of the Final Order, the Debtors shall

not honor any obligations on account of the Compensation and Benefits Programs obligations

that exceed the Priority Claim Amount, if any; provided, further, that the Debtors are not

authorized to pay any amounts accrued prepetition on account of the Non-Employee Director

Fees or U.S. Severance Programs pursuant to this Interim Order, except as provided in paragraph

5 with respect to the U.S. Severance Programs.

    Prepetition Employee-Related Obligations                     Amount Requested
                                          Compensation
  Wages                                                                                 $8,725,000
  Temporary Workers Fees                                                                  $450,000
  Deductions and Withholdings                                                           $6,225,000
  Reimbursable Expenses                                                                   $375,000
  Collections Program                                                                      $55,000
  Subtotal                                                                             $15,830,000
                                              Benefits
  Health Plans and Additional Employee Benefits                                         $8,680,000
  Paid Time Off and Other Leaves of Absence                                                      -
  Subtotal                                                                              $8,680,000
  Compensation and Benefits                                                            $24,510,000

       5.      Notwithstanding anything to the contrary in this Interim Order, and in addition to

the amounts set forth in the table above, the Debtors are authorized, but not directed, to: (a) pay,

or remit with respect to applicable Withholding and Deduction Obligations, approximately

$1,100,000 in the aggregate on account of the U.S. Severance Programs and Canadian

Termination Obligations with respect to non-insider Employees terminated after the Petition

Date; (b) pay approximately $800,000 on account of earned but unused PTO accrued prior to and

after the Petition Date with respect to non-insider Employees terminated after the Petition Date;




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and (c) remit approximately $35,000 on account of the Withholding and Deduction Obligations

for prepetition amounts withheld from Employees and Former Employees wages related to the

cancelled employee stock purchase plan.

       6.      5. The Debtors are authorized, but not directed, to forward any unpaid amounts on

account of Withholding and Deduction Obligations to the appropriate third-party recipients or

taxing authorities in accordance with the Debtors’ prepetition policies and practices.

       7.      6. The Debtors are authorized, but not directed, to (a) continue the Health Plans in

the ordinary course, (b) continue making contributions to the Health Plans, and (c) pay any

prepetition amounts related thereto, including on account of any premiums, claim amounts, and

administration fees to the extent that they remain unpaid as of the Petition Date.

       8.      7. The Debtors are authorized, but not directed, to pay in the ordinary course any

costs and expenses incidental to payment of the Compensation and Benefits Programs

obligations, including the Unpaid Payroll Processing Fees and all administrative and processing

costs in connection therewith.

       9.      8. The Debtors are authorized, but not directed, to: (a) make ordinary course

postpetition payments, including any related fees, to Employees terminated after the Petition

Date on behalf of obligations accrued postpetition, in connection with WARN Obligations, the

COBRA Benefits, and Canadian Termination Obligations, as applicable; and (b) make

postpetition payments, including any related fees, on account of obligations, if any, that accrued

prepetition in connection with the COBRA Benefits, WARN Obligations, or Canadian

Termination Obligations, in each case to the extent required pursuant to applicable law;

provided, however, for the avoidance of doubt, that the WARN Obligations only encompass the




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noticing costs and administrative costs to be paid by the Debtors in connection therewith and not

the payment of any amounts which may be owed to Employees or Former Employees.

       10.       9. The Debtors are authorized, but not directed, to continue to honor and pay PTO

to Employees in the ordinary course on a postpetition basis, but until entry of the Final Order

shall not make any cash-out payments of Employees’ earned but unused PTO with respect to

Employees terminated after the Petition Date, except pursuant to paragraph 5 of this Interim

Order, unless required by applicable non-bankruptcy law.

       11.       10. Nothing herein shall be deemed to authorize the payment of any amounts that

violate or implicate section 503(c) of the Bankruptcy Code; provided that nothing herein shall

prejudice the Debtors’ ability to seek approval of relief pursuant to section 503(c) of the

Bankruptcy Code by separate motion at a later time.

       12.       11. Nothing contained herein is intended or should be construed to create an

administrative priority claim on account of the Compensation and Benefits Programs

obligations.

       13.       12. Nothing contained in the Motion or this Interim Order, and no action taken

pursuant to the relief requested or granted (including any payment made in accordance with this

Interim Order), is intended as or shall be construed or deemed to be: (a) an admission as to the

amount, validity or priority of, or basis for any claim against the Debtors under the Bankruptcy

Code or other applicable nonbankruptcy law; (b) a waiver of the Debtors’ or any other party in

interest’s right to dispute any claim on any grounds; (c) a promise or requirement to pay any

particular claim; (d) an implication, admission or finding that any particular claim is an

administrative expense claim, other priority claim or otherwise of a type specified or defined in

the Motion or this Interim Order; (e) a request or authorization to assume, adopt, or reject any



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agreement, contract, or lease pursuant to section 365 of the Bankruptcy Code; (f) an admission

as to the validity, priority, enforceability or perfection of any lien on, security interest in, or other

encumbrance on property of the Debtors’ estates; or (g) a waiver or limitation of any claims,

causes of action or other rights of the Debtors or any other party in interest against any person or

entity under the Bankruptcy Code or any other applicable law.

        14.     13. Notwithstanding anything to the contrary in this Interim Order, any payment

made, or authorization contained, hereunder, shall be subject to the “Approved Budget” as

defined in the order of the Court approving the debtor-in-possession financing in these chapter

11 cases.

        15.     14. The Debtors are authorized, but not directed, to issue postpetition checks, or

to effect postpetition fund transfer requests, in replacement of any checks or fund transfer

requests that are dishonored as a consequence of these chapter 11 cases with respect to

prepetition amounts owed in connection with the relief granted herein.

        16.     15. The Debtors have demonstrated that the requested relief is “necessary to avoid

immediate and irreparable harm,” as contemplated by Bankruptcy Rule 6003.

        17.     16. Nothing in this Interim Order authorizes the Debtors to accelerate any

payments not otherwise due prior to the date of the Final Hearing.

        18.     17. The contents of the Motion satisfy the requirements of Bankruptcy

Rule 6003(b).

        19.     18. Notice of the Motion as provided therein shall be deemed good and sufficient

notice of such Motion and the requirements of Bankruptcy Rule 6004(a) and the Local Rules are

satisfied by such notice.




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       20.     19. Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this

Interim Order are immediately effective and enforceable upon its entry.

       21.     20. The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Interim Order in accordance with the Motion.

       22.     21. This Court retains jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Interim Order.




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                             Summary report:
 Litera Compare for Word 11.3.1.3 Document comparison done on 9/6/2023
                                4:01:11 PM
Style name: Color (Kirkland Default)
Intelligent Table Comparison: Active
Original filename: Yellow - Wages - Proposed 3rd Interim
Order_(99551319_1).docx
Modified DMS: iw://DMS.KIRKLAND.COM/LEGAL/99551319/10
Changes:
Add                                                      32
Delete                                                   27
Move From                                                0
Move To                                                  0
Table Insert                                             0
Table Delete                                             0
Table moves to                                           0
Table moves from                                         0
Embedded Graphics (Visio, ChemDraw, Images etc.)         0
Embedded Excel                                           0
Format changes                                           0
Total Changes:                                           59
